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                      UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                  :
                                           :
                     v.                    :
                                           :        Case No.: 1:23-cr-00266-BAH
 TYLER BRADLEY DYKES                       :


      DEFENDANT'S RESPONSE TO JULY 12, 2024 MINUTE ORDER

      Defendant, Tyler Bradley Dykes, by and through his attorneys, does not

object to the video and photo evidence identified in the Government's Notice (ECF

No. 44) being made publicly available. Defendant does object to any public

disclosure of his military records identified in Exhibit 19.

                                               Respectfully submitted,


                                               /s/ WILLIAM F. NETTLES, IV,
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                                               /s/ EDMUND G.M. NEYLE,
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July 15, 2024
